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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,
            Plaintiff,

       vs.                                                    No. 07-10010-1-JTM

RENWICK BUTLER,
           Defendant.


                               MEMORANDUM AND ORDER


       Defendant Renwick Butler pled guilty to possessing crack cocaine with intent to

distribute, in violation of 21 U.S.C. § 841(a)(1). On June 2, 2009, the court sentenced

defendant to a term of imprisonment of 84 months. (Dkt. 20).1 The matter is now before

the court following the Clerk of the Court’s receipt of a letter from Butler. Upon inquiry

from the Clerk, the court determined that Butler’s letter should be interpreted as a

motion for relief, so that the matter might be expressly resolved on the record.

       Defendant’s letter makes nothing in the way of what might be considered an

argument in favor of any particular relief. He states only:

       I AM STILL ALLEDGING A VIOLATION OF MY 6TH AMENDMENT
       RIGHTS WITH REGARD TO A SPEEDY TRIAL, AND WOULD LIKE TO
       KNOW WHAT MY SPECIFIC CHARGES ARE?

       He also adds at the bottom of the page:

       p.s. MAY I GET A COURT DATE?



1The sentence was later reduced to 70 months following a Guideline amendment. (Dkt. 25). On two other
occasions, the court denied the defendant’s motions to reduce or modify his sentence. (Dkt. 23, 27).
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       To the extent the letter might be considered a motion, it is hereby denied. The

court expressly addressed Butler’s Speedy Trial argument in its Order of February 7,

2020. In that Order, the court denied two separate pro se motions to dismiss the

Indictment based on the allegedly prejudicial effect of a delay in the prosecution. First,

the court determined that the motions, filed many years after Butler’s conviction, were

time-barred by 28 U.S.C. § 2255(f). Second, the court found that Butler knowingly and

voluntarily waived his right to attack the conviction in his Plea Agreement.

“Enforcement of a waiver to which defendant freely agreed is no miscarriage of justice,”

the court determined. (Dkt. 33, at 4).

       Defendant’s letter offers no reason to conclude the February 7 Order was

incorrect in any respect. The court denies defendant’s request for a hearing or for

additional information, as these would relate solely to his previously-rejected Speedy

Trial claim. Future communications by the defendant which seek similar relief on

similar grounds will be summarily resolved by reference to this Order and the Order of

February 7, 2020.

       IT IS SO ORDERED this day of October, 2020, that the defendant’s Motion for

Relief (Dkt. 34) is hereby denied.



                                         J. Thomas Marten
                                         J. Thomas Marten, Judge



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